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                                  EXHIBIT J
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Glynn, Vincent

From:                      James Wakley <James.Wakley@ohioattorneygeneral.gov>
Sent:                      Wednesday, December 12, 2018 5:08 PM
To:                        Browne, Maureen
Cc:                        Henry G. Appel; Glynn, Vincent
Subject:                   RE: Ohio BOP Discovery



Good afternoon Mo,

My client just completed its final Board meeting of the year, so I should
be able to get back to you on remaining discovery (particularly
individuals for deposition) in the next few days.  But your email does
raise a few concerns that we need to address.

First, I want to make clear that at no time has the Board agreed to
provide any OARRS data or investigative information from specific
cases.  The protective order presently under review concerns investigative
techniques only, which are separate and distinct from OARRS and individual
cases.  Nor have I or anyone else associated with the Board offered to run
any reports at yours or any other MDL party's request. As I indicated in
my August 3rd letter and at other times, the Board is specifically
prohibited by R.C. 4729.80 and 4729.86 from disclosing any OARRS data or
reports generated therefrom.

Additionally, the disclosure of the OARRS database would constitute the
public release of the PHI of millions of individuals who are both
unrelated to and unaware of this case.   Disclosure of that information by
the Board would be a violation of HIPAA.   For those reasons and the others
that I cited in my August 3rd letter, the Board will not be providing a
copy of the database to any party to this or any other litigation.

Similarly, the Board cannot provide anyone for deposition who will testify
about specific data requested and specific analyses performed. Unless
such topics were made public as part of a Board disciplinary action or
other public presentation, those records and any testimony related to
those searches is prohibited from disclosure by R.C. 4729.23 and 4729.80.

I will discuss with the Board who we will offer for the remaining
depositions.  I anticipate that Eric Griffin will be amongst those
offered.  I should be able to get that to you by the 21st.

Sincerely,




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